      Case: 1:17-md-02804 Doc #: 3589 Filed: 12/22/20 1 of 9. PageID #: 507665




                             UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION
OPIATE LITIGATION
                                                          MDL No. 2804
This document relates to:                                 Case No. 17-md-2804
                                                          Judge Dan Aaron Polster
“Track Three Cases” 1



       REVISED ORDER ESTABLISHING REMOTE DEPOSITION PROTOCOL
         IN TRACK ONE-B AND TRACK THREE CASES DUE TO COVID-19

            This Order applies to depositions taken remotely, either by stipulation of the parties

 or order of the Court, during the COVID-19 pandemic, recognizing the special

 circumstances that prevent participants from physically attending depositions (the

 “Pandemic Period”). Nothing herein shall be interpreted as precluding any party from

 objecting to a particular deposition occurring remotely based on the specific circumstances

 of the deponent, the nature of the deposition, or other particularized facts. Except where

 inconsistent with this Order, the MDL Protocol for Depositions, dated September 6, 2018,

 shall apply.

 1.         PROCEEDING WITH A REMOTE DEPOSITION

         A party seeking to depose a witness must first notify national and local counsel for
 that witness in writing of its intent to depose that witness, following which, after a period of
 advance coordination, the party may notice the deposition. During the advance coordination,
 and prior to scheduling and noticing any remote deposition, counsel for the party seeking the
 deposition and counsel for the witness shall take into account the following:

            A.     Public Health. The conditions and procedures proposed for conducting a
            remote deposition must give due account to applicable health directives in place at the

        1
        Track Three cases are County of Lake, Ohio v. Purdue Pharma, L.P. et al., Case No. 1:18-op-
45032 (N.D. Ohio) and County of Trumbull, Ohio v. Purdue Pharma, L.P. et al., Case No. 1:18-op-45079
(N.D. Ohio).

                                                    1
     Case: 1:17-md-02804 Doc #: 3589 Filed: 12/22/20 2 of 9. PageID #: 507666




            time of the deposition and recommendations and individual medical advice affecting
            Participants. 2 No person shall be required to violate or disregard applicable health
            directives and recommendations or the advice of his or her physician.

            B.       Status of the Deponent. The Court understands that certain individuals may
            have personal or professional circumstances relating to the current crisis that either
            prevent them from participating in a deposition altogether or significantly limit their
            ability to sit for a deposition for a sustained period of time, and it expects all parties to
            be respectful and accommodating of such circumstances. A deposition that is noticed
            to take place remotely without advance agreement that the witness is available and able
            to proceed remotely at the noticed time shall be deemed void and unenforceable ab
            initio, and no motion shall be necessary to quash such a notice. A witness or their
            attorney may reschedule remote depositions for good cause, which includes: (a)
            changed circumstances in their health or their family’s health; and (b) a written
            representation of counsel that the deposition must be moved to accommodate the
            witness’s professional obligations due to the COVID-19 pandemic. Any disagreements
            regarding the availability of the witness to be deposed remotely on a requested date
            shall be resolved by the Court or the Special Master. Absent the circumstances
            referenced above, however, the Court generally will not quash a deposition notice on
            the grounds that a party seeks a Remote Deposition.

            C.      Right to Counsel. A deponent has a presumptive right to receive in person
            the confidential advice and assistance of counsel in: (a) preparing for the deposition
            and (b) defending the deposition. This Order does not modify or abridge that right
            in any way; nor does this Order modify or abridge the right of any party taking a
            deposition to do so in person if it prefers to do so (subject to the deponent’s right to
            insist on a deposition by remote video instead of in person during the pandemic
            period). But the noticing party’s choice to participate in a deposition remotely shall
            not be reason to prevent the defending counsel from defending the deposition in
            person.

            D.      Private, Quiet, and Secure Locations. Participants must each have access to
            a private, quiet, and secure room where he or she will be uninterrupted and where
            confidentiality of the proceedings may be preserved for the entirety of the deposition.
            In addition, the deponent should have access to a neutral background that does not
            reveal or suggest details of that individual’s personal family composition, financial
            situation, religion, or similarly personal matters.

            E.      Confidentiality/Security. To ensure the confidentiality of the deposition and
            any exhibits: (i) only those persons who are permitted pursuant to the Protective Order
            entered in this case shall participate in, listen to, or view the deposition or exhibits; (ii)
            all Participants and Attendees must be able to participate through a secure audio/video

        2
         For purposes of this Order, “Participants” are those who are essential for a deposition, including
the deponent, the deponent’s attorney, the attorney(s) taking the deposition, the court reporter, the
videographer, and any technician(s) providing support services. “Attendees” are other persons (such as
lawyers for another party who wish to observe) who are entitled to attend the deposition.

                                                      2
Case: 1:17-md-02804 Doc #: 3589 Filed: 12/22/20 3 of 9. PageID #: 507667




  conferencing platform that, at a minimum, provides verifiable end-to-end encryption,
  requires unique user-identity authentication, and employs a vendor-moderated “green
  room” or “lobby” feature; and (iii) Participants must receive and maintain any exhibits
  securely.

         1.      All Participants who connect to the audio/video platform must
                 connect, through a private, password-protected network. Connection
                 through a public Wi-Fi network is not permitted.

         2.      The noticing party shall ensure that technical and other information
                 concerning the security of the proposed audio/video platform is
                 available to all Participants on request at least ten days before the
                 deposition.

  F.     Access to Suitable Hardware and Software.

         1.      When the party seeking a deposition first provides counsel for the
                 witness with written notification of its intent to depose a witness
                 remotely, and in no case less than 21 days prior to the deposition, the
                 noticing party shall inform all parties of (1) the videoconferencing
                 platform it intends to use; (2) the minimum technical specifications
                 required for the secure and uninterrupted use of that platform,
                 including equipment, software, and internet bandwidth requirements;
                 (3) additional software, if any, that will be used during the deposition;
                 and (4) the names and contact information of the individuals who will
                 support the deposition and who can answer questions about technical
                 requirements. The noticing party shall promptly inform all parties of
                 any updates to the noticed videoconferencing platform that are
                 implemented in the time between providing this notice and the date of
                 the deposition.

         2.      Each Participant must possess a laptop, desktop, tablet, or other
                 suitable device with internet, webcam, and microphone capabilities as
                 well as necessary internet browser and other software. Devices to be
                 used must be secured with appropriate firewalls, VPN, or similar
                 security infrastructure. If the deponent does not have access to such a
                 device, counsel for the deponent shall undertake reasonable efforts to
                 provide the deponent with such device. If the deponent is a third party
                 and not affiliated with a party, the noticing party shall be responsible
                 for ensuring that the deponent possesses all necessary equipment and
                 software.

  G.     Connectivity. The deponent must have sufficient internet connectivity and
  bandwidth to support a video deposition. Such capacity shall be sufficient to ensure
  that when used with the deposition platform, there will be (a) high-quality video
  upload (from the deponent) and download (to other Participants), (b) no material time
  discrepancy between audio and video, and (c) consistent connectivity, with no material

                                          3
     Case: 1:17-md-02804 Doc #: 3589 Filed: 12/22/20 4 of 9. PageID #: 507668




       disruptions.

              1.      The available internet connection must be a Broadband connection
                      (cable or satellite) of at least 10Mbps or better.

              2.      Where practicable, defending counsel shall arrange a test of the
                      deponent’s equipment with the deposition vendor using the planned
                      system at least 48 hours in advance of the deposition. Any
                      participating lawyer may also request such an advance test for his or
                      her own equipment and internet connection, and such requests shall be
                      reasonably accommodated.

       H.      Special Circumstances of the Witness. To the extent that the witness is
       confronted with special circumstances that require accommodation, the parties shall
       discuss in good faith reasonable options to proceed in a manner that avoids such
       conflicts. No such option for accommodating the special circumstances of the
       deponent shall impose unreasonable burdens on the deponent or others in the
       household or require the deposition to take place outside of normal business hours,
       absent consent of all Participants.

2.     NOTICING A REMOTE DEPOSITION

       A.     A party will not notice any remote deposition until it has confirmed that all of
       the conditions set forth in Section 2 have been satisfied or can be satisfied for the
       proposed deponent by the time of the deposition. All parties shall cooperate to provide
       the necessary confirmations in a timely manner.

       B.     Counsel for the noticing party and the deponent will attempt to resolve any
       dispute concerning whether the conditions of Section 2 are satisfied for a particular
       witness/deposition. If such dispute cannot be resolved by counsel, the party seeking
       the deposition may seek guidance from the Court.

       C.      The notice shall be served on all parties at least 15 days in advance of the
       deposition and shall specifically advise that the deposition will be taken remotely
       and include the date and time of the deposition. The notice shall identify the
       vendor that the noticing party has retained to facilitate the remote deposition and
       provide contact information (name, e-mail, and telephone number) for an official
       or responsible employee of the vendor and any other person(s) who have been
       appointed to provide technical support during the deposition.

3.     CONDUCTING A REMOTE DEPOSITION

       A.      Any remote deposition shall use a platform and system(s) that comply with all
       requirements of this Protocol, including providing high-quality and reliable video and
       audio streaming to all Participants and Attendees; full synchronization of audio and
       video with each other and with real-time transmission from the court reporter; and the
       ability of every Participant to be heard clearly by all other Participants even if another

                                                4
Case: 1:17-md-02804 Doc #: 3589 Filed: 12/22/20 5 of 9. PageID #: 507669




  Participant is speaking (e.g., if an objection is being stated). If counsel for the deponent
  is in the same room with the deponent but the questioning attorney is not, the noticing
  party shall provide the witness and defending counsel a video display of the
  questioning attorney.

  B.      No later than 24 hours in advance of a deposition, the parties shall provide
  names of all planned Participants and Attendees to the vendor retained to facilitate the
  deposition. Attendees other than Participants shall place their microphones on “mute”
  during the deposition except when needed to assert an objection. To the extent a
  party’s designated Attendee is unable to attend the deposition for any reason within
  the final 24 hour period, that party may designate a new Attendee. Upon notice to all
  parties, that new Attendee may use the credentials and/or password provided to the
  original Attendee.

  C.      The noticing party and/or its vendor must ensure that only registered
  Participants and Attendees are sent a link to join the deposition; no link should be
  posted on a website or otherwise made publicly available. The vendor facilitating the
  deposition shall allow only authorized Attendees to access the deposition by using
  features such as a “waiting room.” The vendor shall maintain a list of all Participants
  and Attendees.

  D.     The party noticing the deposition shall arrange for technical support for the
  duration of the deposition, to be available to any Participant or Attendee in the event
  of technological issues.

  E.      The vendor shall provide a real-time transcript during the deposition that shall
  be available to all Participants and Named Attendees, upon request, via a feed that
  can be accessed through the same device on which the video feed is being viewed or
  via a second device.

  F.      The vendor’s software/application shall automatically alert the court reporter
  if any Participant is disconnected from the deposition. In the event, the questioning
  counsel, the deponent, or the deponent’s counsel experience connectivity or other
  issues that affect participation in the remote deposition, such as issues relating to
  undue slowness, a loss of either of video or audio, or a mismatch between the audio
  and video feeds, the deposition shall be stopped immediately to resolve these issues.
  Any time during which the deposition is paused due to technical issues experienced
  by a Participant will not count against the 7-hour time limitation in Rule 30(d)(1).

  G.      A videographer shall remotely capture the deposition video and provide a
  certified recording. The video recording shall be only of the deponent, and only time
  on the record in the deposition shall be recorded.

  H.     If privileged information is disclosed during the deposition due to a
  technical disruption, or to the extent any privileged conversation between a
  deponent and the deponent’s counsel is captured by a videoconferencing or other
  recording device, such disclosure shall not be deemed a waiver of privilege.

                                           5
      Case: 1:17-md-02804 Doc #: 3589 Filed: 12/22/20 6 of 9. PageID #: 507670




             I.      The questioning attorney shall wait until it is clear that a question has been fully
             answered before interjecting or asking another question. Any system and equipment
             used for a remote deposition must permit the defending lawyer(s) or other Attendees to
             assert objections in real time. If the defending lawyer is unable to do so, the deposition
             shall be suspended until the situation can be corrected. If any lawyer is prevented from
             asserting a timely objection on the record due to a technical disruption, that lawyer
             should attempt to assert the objection before the deposition ends, in which case it will
             be preserved as if it had been timely presented and recorded. If technical issues arise
             which prevent the objecting attorney from participating in the deposition whereby it
             becomes impossible for the objecting attorney to place a timely objection on the record
             before the deposition ends, and within five business days of receipt of the final
             transcript that attorney provides a sworn affidavit setting forth the facts on why the
             attorney was unable to place that objection on the record before the deposition ended,
             the objection will be preserved. Any dispute about the validity of such an objection
             may be presented to the Special Master. Any objection by any party is preserved for all
             other parties on the same side without the need to join in the same; thus, while any
             party may assert an objection that the defending counsel does not assert, counsel
             should not repeat or “join” an objection already made by another lawyer.

 4.          AUTHORITY OF COURT REPORTER TO SWEAR DEPONENT IN REMOTELY

             A.      The deposition shall be deemed to have been conducted before a court
             reporter even if the court reporter is not physically present with the deponent so long
             as the court reporter attends the deposition via reliable remote means (e.g.,
             videoconference) and so long as all Participants (including the court reporter) can
             hear and be heard by all other Participants at all times.

 5.          EXHIBITS

             A.       Counsel introducing exhibits during the deposition shall make all exhibits
             utilized during a particular deposition available in hard copy (paper) form to the
             deponent and other Participants prior to a deposition as set forth herein. The noticing
             party and any other party who intends to use exhibits during the deposition shall
             deliver complete copies of all potential exhibits to be used to all Participants via a
             service expected to deliver by 10:30 AM the business day before the deposition. 3
             Each exhibit shall be in hard copy in a separate numbered envelope or binder, which
             may be sealed. Except as provided for in Paragraph 5.F or footnote 3 below, parties
             are prohibited from using, introducing or asking questions about exhibits or other
             documents that were not provided by this deadline. (However, this limitation does not
             apply to defending counsel for purposes of follow-up examination or the noticing

         3
           For depositions occurring on Mondays, the parties agree to use best efforts to provide documents the
Friday before, but to work cooperatively if additional exhibits need to be provided over the weekend. The parties
also agree to work cooperatively if additional exhibits need to be delivered for any deposition after the time frame
identified in this protocol and will use best efforts to provide these exhibits in hard copy (for example, by courier).
All parties understand the limits placed on delivery services with the combination of COVID-19 and winter weather
and agree to work cooperatively should any issues arise.

                                                           6
Case: 1:17-md-02804 Doc #: 3589 Filed: 12/22/20 7 of 9. PageID #: 507671




  party for purposes of re-cross and/or re-direct examination where the noticing party
  could not have anticipated using such exhibit with the witness in accordance with
  Paragraph 5G below.) Complete copies of exhibits must also be made available to
  Attendees by the time they are used in the deposition, either in hard copy or in
  electronic form. Hard copy exhibits provided in sealed envelopes or other containers
  may not be opened by the deponent and his/her counsel until instructed to do so by the
  questioning attorney. Any unused sealed envelopes shall be destroyed upon
  completion of the deposition.

  B.      To permit delivery of exhibits, the noticing party may require that all
  Participants provide addresses to be used for this purpose. An address provided
  pursuant to this Section shall be regarded as highly confidential and may not be used
  by the noticing party for any purpose other than arranging for delivery of exhibits.

  C.      When delivered, each exhibit shall be separated from the others in a clearly
  identifiable manner (e.g., by numbered tabs) so that they can be readily located by the
  deponent and other Participants. Parties are strongly encouraged to pre-mark each
  exhibit with exhibit numbers for use at the deposition. Exhibits need not be used
  during the deposition in numerical order.

  D.       Counsel may elect to use an Elmo or similar technology at the deposition to
  assist in questioning the witness. The originals of any documents displayed or notes
  made by the questioning lawyer and/or the witness, must be part of the video record,
  marked as an exhibit and will be retained by the author(s) and provided electronically
  to the opposing party as soon as the examining attorney finishes creating the exhibit or
  immediately upon passing the witness, whichever occurs first. Electronic copies of
  the same will be provided to the Court Reporter upon the close of the deposition.

  E.      Following completion of the deposition, the deponent will secure the exhibits
  that were used in the deposition in an envelope or box immediately following the
  deposition and will not alter any exhibit (mark up, remove pages, etc) after the
  conclusion of the deposition. Participants shall store the exhibits in a secure location
  that protects confidentiality. Counsel for the deponent – or, in the case of an
  unrepresented deponent, noticing counsel – shall arrange for the delivery of the
  official set of exhibits from the deponent to the court reporter. To preserve
  confidentiality, unused exhibits in the possession of the deponent shall be returned or
  destroyed as the noticing party directs.

  F.      If the noticing party wishes also to use an electronic version of an exhibit
  during the course of the deposition, it must identify where the corresponding hard-
  copy document can be located so that the deponent may review and answer questions
  based on the hard-copy document. The noticing party may direct the deponent to
  portions of the electronic version of the document on the video deposition screen,
  provided the noticing party indicates where in the hard-copy document those portions
  may be found. But the witness may not be required to review a document on the
  screen if he or she chooses not to do so and prefers instead to review the hard copy
  only. This protocol neither restricts nor enlarges a deponent’s right to review portions

                                          7
     Case: 1:17-md-02804 Doc #: 3589 Filed: 12/22/20 8 of 9. PageID #: 507672




       of a document other than those to which the noticing party specifically directs the
       deponent.

       G.       If an unusual circumstance arises where counsel conducting the witness
       examination could not have anticipated using an exhibit and therefore could not
       provide a hard copy of the exhibit in advance of the deposition, that counsel may
       present the exhibit electronically using a shared screen. An exhibit provided only
       electronically in this manner must be made available to the deponent to review in
       its entirety, and the witness must be afforded the independent ability to review the
       exhibit in its entirety, and the witness must be afforded the independent ability to
       control manipulation of the document (scrolling, etc.) to facilitate that review. Full
       electronic copies of the exhibit must be transmitted to all Participants, and received
       by them, before questioning begins on the exhibit. The attorney using the exhibit
       will be responsible for providing the marked original to the court reporter.

6.     CONDUCT DURING A DEPOSITION AND COMMUNICATIONS WITH THE WITNESS

       A.      During live testimony on the record, attorneys shall not communicate in any
       manner with the deponent in any way that cannot be heard or seen by all Participants
       to the deposition. This includes silent signals and private messages of any kind,
       including but not limited to instant messages or text messages conveyed through
       phones, smart watches, or similar devices. Such prohibition shall not affect the right
       of the deponent and her/his lawyer(s) to communicate in private off the record to the
       extent otherwise permitted under the applicable rules.

              1.      To the extent that the vendor’s technology includes a “chat” feature or
                      similar capabilities, the noticing party shall ensure that the vendor
                      either:
                      (a) disables the feature or (b) implements settings (if available) that
                      require all communications to be seen by all Participants. Nothing in
                      this provision is to be read as prohibiting otherwise appropriate
                      communications among Participants and/or Attendees by other means.

              2.      A deponent may consult privately with counsel during any time
                      such consultation would be permissible if the deposition were
                      taken live, including by asking for a break to seek advice on a
                      possible issue of privilege.

       B.     In instances where counsel for the deponent is in the same room with the
              deponent but the questioning attorney is not, the noticing party may provide
              for a second video camera to record the actions of the deponent’s attorney
              and/or any other Participants present in the same room as the deponent during
              times that the deponent is on the record. Any such additional camera must be
              turned off during breaks and will not be considered part of the official record
              unless separately introduced as evidence in support of a noticed motion
              directed at the conduct of the lawyer during the deposition.


                                               8
     Case: 1:17-md-02804 Doc #: 3589 Filed: 12/22/20 9 of 9. PageID #: 507673




       C.     All persons attending the deposition shall be identified on the record, and
              no person may attend the deposition who is not identified on the record.

7.     MODIFICATION BY AGREEMENT

       The requirements of this Order may by modified with respect to an individual
       deposition upon written agreement of all parties.

8.     RESERVATION OF RIGHTS

       Any party shall be entitled to oppose any procedure adopted for a remote
       deposition insofar as it contends that protections provided herein, or their
       implementation in a particular situation, are insufficient under the circumstances.
       Any party wishing to state such an objection shall give timely notice to other
       parties, who shall meet and confer about the objection and potential means of
       addressing it. Nothing in this Order limits a Participant’s ability to seek judicial
       assistance, either before or during a deposition.


                                                    IT IS SO ORDERED.


                                                     /s/Dan Aaron Polster 12/22/20
                                                    ____________________________________
                                                    Dan Aaron Polster
                                                    United States District Judge




                                               9
